           Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 1 of 9


 1    KILPATRICK TOWNSEND & STOCKTON LLP
      CHRISTOPHER T. VARAS (Bar No. 32875)
 2    CVaras@kilpatricktownsend.com
      1420 Fifth Avenue, Suite 3700
 3    Seattle, WA 98101
      Telephone:    206-516-3088
 4    Facsimile:    206-623-6793

 5    Attorneys for Petitioner
      BBC Worldwide Limited t/a BBC Studios (Distribution)
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                             WESTERN DISTRICT OF WASHINGTON
10    IN RE: DMCA SECTION 512(h)                            Case No.:   2:18-cv-1135
      SUBPOENA TO MICROSOFT, INC.
11
                                                            DECLARATION OF CHRISTOPHER T.
12                                                          VARAS IN SUPPORT OF BBC
                                                            WORLDWIDE LIMITED T/A BBC
13                                                          STUDIOS (DISTRIBUTION)’S REQUEST
                                                            TO THE CLERK FOR ISSUANCE OF A
14                                                          SUBPOENA PURSUANT TO 17 U.S.C. §
                                                            512(h) TO IDENTIFY ALLEGED
15                                                          INFRINGER(S)
16
17
18                          DECLARATION OF CHRISTOPHER T. VARAS

19           I, Christopher T. Varas, declare as follows:

20           1.     I am a partner with the law firm of Kilpatrick Townsend & Stockton LLP, counsel

21    of record for Petitioner BBC Worldwide Limited t/a BBC Studios (Distribution) (“BBC Studios”).

22    I have personal knowledge of the facts contained herein and, if called upon to do so, could and

23    would testify competently thereto.

24           2.     I submit this declaration in support of BBC Studios’ request for issuance to

25    Microsoft Inc. (“Microsoft”), owner and operator of the website <onedrive.live.com>, of a

26    subpoena pursuant to the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 512(h) (the

27    “Subpoena”), to identify one or more alleged infringers whom BBC Studios is informed and

28    believes posted copyrighted video content from Season 11, Episode 1 of Doctor Who (the
     DECL. OF CHRISTOPHER T. VARAS ISO BBC                        KILPATRICK TOWNSEND & STOCKTON LLP
     WORLDWIDE LTD.’S REQUEST FOR ISSUANCE OF A                            1420 FIFTH AVENUE, SUITE 3700
     DMCA SECTION 512(H) SUBPOENA TO MICROSOFT INC.                                    SEATTLE, WA 98110
     -1-                                                                                     206-467-9600
           Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 2 of 9


 1    “Infringing Content”) on systems operated by Microsoft without BBC Studios’ authorization.

 2           3.     On June 25, 2018, BBC Studios submitted a notification via email identifying the

 3    Infringing Content on Microsoft’s system and providing the information required by 17 U.S.C. §

 4    512(c)(3)(A). Attached hereto as Exhibit 1 is a true and correct copy of the June 25, 2018

 5    notification to Microsoft.

 6           4.     The purpose for which the Subpoena to Microsoft is sought is to obtain the identity

 7    of the alleged infringer (or infringers) and such information will only be used for the purpose of

 8    protecting rights under title 17 U.S.C. §§ 100, et seq.

 9           5.     A true and correct copy of BBC Studios’ proposed Subpoena to Microsoft is

10    attached hereto as Exhibit 2.

11           I declare under penalty of perjury under the laws of the State of Washington and United

12    States of America that the foregoing is true and correct.

13           Executed on August 2, 2018, at Seattle, Washington.

14
15                                                          ________________________
                                                                  Christopher T. Varas
16
17
18
19
20
21
22
23
24
25
26
27
28
     DECL. OF CHRISTOPHER T. VARAS ISO BBC                        KILPATRICK TOWNSEND & STOCKTON LLP
     WORLDWIDE LTD.’S REQUEST FOR ISSUANCE OF A                            1420 FIFTH AVENUE, SUITE 3700
     DMCA SECTION 512(H) SUBPOENA TO MICROSOFT INC.                                    SEATTLE, WA 98110
     -2-                                                                                     206-467-9600
Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 3 of 9




                   EXHIBIT 1
                       Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 4 of 9




Fro m : Marcin Przasnyski <marcin@przasnyski.com>
Sent: Monday, June 25, 2018 1:50 PM
To: d mcaagnt@microsoft.com
Subject: Microsoft Content Infringement

Notice of Infringement
First name: Marcin
Last name: Przasnyski
Contact email: mp@antipiracyprotection.co.uk
Name of the intellectual property (IP) owner (if not you): BBC Studios
Country of submitter: United Kingdom
Please describe your intellectual property (IP) in detail: Copyright to Television Series titled Doctor Who, especially any and all
video, audio, still, audiovisual material of unreleased Series 11 beinQ in the makinQ.
Specific online location (URL) where we can view your work (if available online):
Specific online location (URL) where your intellectual property (IP) is being infringed:
https://onedrive.live.com/?authkey=!ANCgXycmPXOOjQc&cid=7A07BB4226E47EOE&id=7A07BB4226E47EOE!519&parld=7A07BB42
26E47EOE!51 O&o=OneUp
https://onedrive.live.com/?authkey=!ANCgXycmPXOOjQc&cid=7A07BB4226E47EOE&id=7A07BB4226E47EOE!519&parld=7A07BB42
26E47EOE!51 O&action=locate
Additional information: The unauthorised, unreleased footage from work in progress material was stolen from the studio and posted
online without authorisation.
Required Statements
Good Faith Belief: Checked
Authority to Act: Checked
512(f) Acknowledgement: Checked
Signature: Marcin Przasnyski




                                                                 1
                                                                                                              EXHIBIT 1, p 3
Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 5 of 9




                    EXHIBIT 2
                        Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 6 of 9

 /\0 8MU (Rev. 02114) Subpoena to Produce Documents, Information, or ObJCCls or to l'cnni1 lnspcc1ion of Premises ma Civil /\c1ton


                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Western District of Washington

          In re: DMCA Subpoena to Microsoft, Inc.
                                                                                )
                                Plaintiff                                       )
                                   V.                                           )       Civil Action No.
                                                                                )
                                                                                )
                               Defe11da111                                      )

                         SUBPOENA TO PRODUCE DOCU M ENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSP ECTION OF PREM ISES IN A C IVIL ACTION

 To:                                           Microsoft, Inc., One Microsoft Way, Redmond, WA 98052

                                                        (Name ofperson 10 whom this subpoena is directed)

    ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material : See Attachment A.



 IPlace: Kilpatrick Townsend & Stockton LLP, Attn : Christopher                         I Date and Time:
           T. Va ras. 1420 Fifth Ave nue, Suite 3700, Seattle, WA                                         August 16, 2018, 5:00 p.m.
           98101

     0 inspection of Premises: YOU ARE COMMAN Ol<~ D to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                   Date and Time:

                                                                                       l
       The following provisions of Fed. R. Civ. P. 45 arc allached Rule 45( c), relating to the place of compliance;
Ruic 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(c) and (g), relating to your duty to
respond to this subpoena and the po tential consequences of not doing so.
 Date:         08/02/18

                                   CLERK OF COURT
                                                                                             OR

                                             Signature of Clerk or Depllly Clerk                                       Attorney's signa111re


The name, address, e-mail address, and telephone number of the attomey representing (1wme ofparty)
BBC Worldwide Lj_mited Va BBC Studios (Qistribution)                                              , who issues or requests this subpoena, arc:
Christopher Vara s, 1420 Fifth Avenue, Suite 3700, Seattle, WA 98101 ; cvaras@kilpatricktownsend.com; 206-516-3088

                                        Notice to the person who issues or requests this subpoena
I[this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                                                                                                                        EXHIBIT 2, p. 4
                        Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 7 of 9

AO 8813 (Rev. 02114) Subpoena lo Produce D<x:umenls, lnfonnalion, or Objects or lo l'cnmt Inspection of Prcm1S(.'S in ;i Civil Action (Page 2)

Ci vi I Action No.

                                                                 PROOF OF SERVICE
                      (This sectio11slioulcl11ot be jiletl with the court unless required by Fetl. R. Civ. I'. 45.)

            I received !his subpoena for (name ofindividual and 1i1le, ifnny)
on (date)


            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                              on (date)                                     ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's allcndancc, and the mileage allowed by law, in the amount of
            $

My fees are$                                        for travel and $                               for services, for a total of$                   0.00



            l declare under penalty       or perjury that this information is true.

Date:
                                                                                                      Server's signature



                                                                                                    Prinled 11a111e and title




                                                                                                       Se11•er ·s address

Additional information regarding attempted service, etc.:




                                                                                                                                            EXHIBIT 2, p. 5
                          Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 8 of 9

AO 8813 (Rev. 02114) Subpoena to Produce Documents, Information, or Objects or to Pem1it Inspection of Premises in a Civil /\ction(Page 3)

                              Federal Rule of Civil Procedm·e 45 (c), (d), (e), and (g) (Effective 12/1113)
(c) Place of Compliance.                                                                    (ii) d isclosing an unrctaincd expert's opinion or information that docs
                                                                                       not descr ibe specific occun·enccs in dispute and results from the cxpc1t' s
  (I) For a Trial, Heari11g, or Depositio11. /\ subpoena may command a                 study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                         (C) Spec(/jing Conditions a.v 0 11 Al1ernative. In the circumstances
   (/\)within I00 miles of where the person resides, is employed, or                   described in Ruic 45(d)(J)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
   (B) with in the state where the person res ides, is employed , or regularly         conditions if the serving party:
transacts business in person, if the person                                                 (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a pany 's ollicer; or                                          otherw ise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                   (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                       (e) Duties in Responding to      a S ubpoena.
 (2) For Other Discovery. /\subpoena may command:
  (A) production of documents, electronically stored information , or                   (I) Producing Doc11111e11ts 01· £lectro11ically Stored /11for111atio11. These
tangible things at a place within I00 miles of where the person resides, is           procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                              information:
  (B) inspection of premises at the premises to be inspected.                            (A) Documents. /\ person responding to a subpoena to produce documents
                                                                                      must produce them as they arc kepi in the ordinary course of business or
(d) Protecting a Person S ubject to a S ubpoena; Enforcement.                         must organize and label them lo co1Tespond to the categories in the demand.
                                                                                         (B) Form for Producing l::lectronically Stored /11for11101io11 No1 Specified.
 (I) Avoidi11g U11d11e 811rde11 or Bxpe11se; Sr111ctio11s. /\party or allorney        Ira subpoena docs not spec ify a form for producing electronically stored
responsible for issu ing and serving a subpoena must take reasonable steps            information. the person respond ing must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the                  which it is ordinari ly maintained or in a reasonably usable fonn or forms.
subpoena. The court for the d istrict where compl iance is required must                 (C) Electro11ical/y Stored fl1formatio11 Produced in Only One Form. The
enforce this duty and impose an appropriate sanction- which may include               person responding need not produce the same ckctronically stored
lost earnings and reasonable attorney's fees- on a party or attorney who              information in more than one form.
foils lo comply.                                                                         (D) Inaccessible Electro11ical/y Stored /11jor111atio11. The person
                                                                                      responding need not provide d iscovery of electronically stored information
  (2) Command to Produce Materials or Permit lllspectio11.                            from sources that the person identifies as not reasonably accessible because
    (t\) Appearance Not l?equired. /\ person commanded to produce                     of undue burden or cost. On motion to compel d iscovc1y or for a protective
documents, electronically stored information. or tangible things, or lo               order, the person responding must show that the information is nol
permit the inspection or premises, need not appear in person at the place or          reasonably accessible because of undue burden or cost. If that show ing is
production or inspection unless also commanded to appear for a deposition,            made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                    requesting party shows good cause, considering the limitations or Rule
    (8) Objections. /\. person commanded to produce documents <>r tangible            26(b)(2)(C). 'lhe court may spcci fy cond itions for the discove1y.
things or to pennil inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copy ing, testing, or              (2) Claiming Privilege or Protection.
sampl ing any or all of the materials or to inspecting the premises- or to              (t\) 111/ormation Withheld. /\ person withholding subpoenaed information
producing electronically stored infonnation in the form or forms requested.           under a c laim that it is privileged or subject to protection as lrial-prcpardtion
The objection must be served before the earlier ol'the time specified for             material must:
compliance or 14 days after the ~ubpoena is served. If an objection is made,               (i) expressly make the claim; and
the following rules apply :                                                                (ii) describe the nature of the withheld documents, communications, or
       (i) Al any time, on notice to the commanded person, the serving party          tangible things in a manner that, without revealing in formation itself
may move the court for the d istrict where compliance is required for an              privileged or protected, will enable the pm1ies to assess the claim.
order compelling production or inspection.                                              (8) Information Produced. ll'infonnation produced in response to a
       (ii) These acts may be required only as directed in the order, and the         subpoena is subject to a claim of privilege or of protection as
order must prolccl a person who is neither a party nor a party's officer from         trial-preparation material, the person making the c laim may notify any party
s ignificant expense resulting from comp liance.                                      that received the information of the c laim and the basis for it. Aller being
                                                                                      notified, a party must promptly return, sequester, or destroy the specified
 (3) Q11ashillg or Modifyi11g a Subpoena.                                             information and any copies it has; must not use or disclose the in formation
   (A) Whe11 l?equired. On timely motion , the cou1t for the district where           until the c laim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                          information ii' the party disclosed it before being notified; and may promptly
     (i) fails lo allow a reasonable time to comply;                                  present the information under sea l to the court for the district where
     (ii) requires a person lo comp ly beyond the geographical lim its                compl iance is required for a determination of the c laim. 'll1c person who
specified in Ruic 45(c);                                                              produced the informaLion must preserve the information until the claim is
     (iii) requires disc losm·c of privileged or other protected matter, if no        resolved.
exception or waiver app lies: or
     (iv) subj<.'ClS a person to undue burden.                                        (g) Contempt.
  (B) When Permitted. To protect a person subject to or aff<..-ctcd by a              The court for the district where compliance is required- and also, after a
subpoena, the court for the district where comp Iiance is required may, on            motion is transferred, the issuing court- may hold in contempt a person
motion , quash or modify the subpoena ifit requires:                                  who, having been served, fai ls without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research ,                  subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. I'. 45(a) C'o111111it1cc Note (20 13).




                                                                                                                                                 EXHIBIT 2, p. 6
       Case 2:18-cv-01135 Document 1-1 Filed 08/02/18 Page 9 of 9




                                     ATTACHMENT A

               DOCUMENTS TO BE PRODUCED UNDER SUBPOENA

1.   All infonnation that may identify the alleged infringer who posted infringing content
     located at the following Microsoft OneDrive link:
     https://onedrive. li ve.com/?authkey= !ANCqXycmPXOOjQc&cid=7 A07B B4226E4 7EOE
     &id=7A07BB4226E47EOE!5 l 9&parld=7A07BB4226E47EOE!5 IO&o=OneUp,
     including, without limitation, any name, account name, address, telephone number, email
     address, birth date, profile photo, device infonnation (e.g. , JP address, device type, name,
     operating system, MAC address or other identifiers), browser info1mation, location
     info1mation, info1mation from others (e.g., Facebook or Google+) and time posted.

2.   To the extent not already provided, all information that may identify the alleged infringer
     who posted infringing content located at the following Microsoft OneDrive link:
     https://onedrive.live.com/?authkey=! ANCqXycmPXOOjQc&cid=7 A07 BB4226E4 7EO E
     &id=7 A07BB4226E47EOE! 519&parid=7 A07BB4226E47EOE! 51 O&action=locate,
     including, without limitation, any name, account name, address, telephone number, email
     address, birth date, profile photo, device infotmation (e.g., IP address, device type, name,
     operating system , MAC address or other identifiers), browser info1mation, Location
     info1mation, infonnation from others (e.g., Facebook or Google+) and time posted.

3.   All information regarding any earlier posting of the infringing content located at the
     Microsoft OneDrive links listed in Request Nos. 1 and 2 above: file name
     IMG_ l 563.TRIM.MOV, including account name, date created, date modified, duration,
     file size and type, number of views, as well as timestamp information for when the file
     was made available for public viewing.




                                                                                         EXHIBIT 2, p. 7
